              Case 4:22-cv-07074-JST Document 42 Filed 12/20/22 Page 1 of 5



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     Counsel for Individual and Representative
13   Plaintiffs and the Proposed Class

14

15                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
16                             SAN FRANCISCO DIVISION

17
     J. DOE 1, et al.,                                   Case No. 4:22-cv-06823-JST
18
             Individual and Representative Plaintiffs,
19           v.                                          JOINT STIPULATION AND
20   GITHUB, INC., et al.,                               [PROPOSED] ORDER REGARDING
                                                         CONSOLIDATION AND
21                                       Defendants.     SCHEDULING

22                                                       Related Case No. 4:22-cv-07074-JST
     J. DOE 3, et al.,
23           Individual and Representative Plaintiffs,
24           v.                                          JOINT STIPULATION AND
     GITHUB, INC., et al.,                               [PROPOSED] ORDER REGARDING
25                                                       CONSOLIDATION AND
                                         Defendants.     SCHEDULING
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       JOINT STIPULATION AND [PROPOSED] ORDER REGARDING CONSOLIDATION AND SCHEDULING
                 Case 4:22-cv-07074-JST Document 42 Filed 12/20/22 Page 2 of 5




 1             WHEREAS, on November 3, 2022, Plaintiffs Doe 1 and Doe 2 (the “Doe 1 Plaintiffs”)

 2   filed a Complaint (ECF No. 1) against Defendants GitHub, Inc.; Microsoft Corporation;

 3   OpenAI, Inc.; OpenAI, L.P.; OpenAI GP, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI

 4   Startup Fund I, L.P.; and OpenAI Startup Fund Management, LLC1 in Doe 1, et al. v. GitHub,

 5   Inc., et al., No. 4:22-cv-06823-KAW (N.D. Cal.) (the “Doe 1 Action”);

 6             WHEREAS, on November 10, 2022, Plaintiffs Doe 3 and Doe 4 (the “Doe 3 Plaintiffs”)2

 7   filed a Complaint (ECF No. 1) against Defendants in Doe 3, et al. v. GitHub, Inc., et al., No.

 8   3:2022cv07074-LB (N.D. Cal.) (the “Doe 3 Action”);

 9             WHEREAS, on November 15, 2022, Plaintiffs filed an Administrative Motion to

10   Consider Whether Cases Should Be Related regarding the Doe 1 Action and the Doe 3 Action

11   (ECF No. 15) (“Motion to Relate”);

12             WHEREAS, the Court has granted Plaintiffs’ Motion to Relate;

13             WHEREAS, the Doe 1 Action and the Doe 3 Action have been served;

14             WHEREAS, the parties named as Defendants in the Doe 1 Action and the Doe 3 Action

15   have not filed answers nor otherwise responded to the complaints in those actions;

16             WHEREAS, Civil Local Rule 6-1 permits the parties to “stipulate in writing, without a

17   Court order, to extend the time within which to answer or otherwise respond to the complaint”

18   so long as “the change will not alter the date of any event or any deadline already fixed by Court

19   order”;

20             WHEREAS, the parties have conferred and agreed that the Doe 1 Action and the Doe 3

21   Action shall be consolidated for purposes of discovery and motion practice, and that the Doe 3

22   complaint shall be the operative complaint such that Defendants shall only be required to answer

23   or otherwise respond to the complaint in the Doe 3 Action (the “Complaint”);

24   1
      GitHub, Inc. is referred to as “GitHub.” Microsoft Corporation is referred to as “Microsoft.”
25   OpenAI, Inc.; OpenAI, L.P.; OpenAI GP, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI
     Startup Fund I, L.P.; and OpenAI Startup Fund Management, LLC are referred to collectively
26   herein as “OpenAI.” Collectively, GitHub, Inc., Microsoft Corporation, OpenAI, Inc.; OpenAI,
     L.P.; OpenAI GP, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI Startup Fund I, L.P.; and
27   OpenAI Startup Fund Management, LLC are referred to herein as “Defendants.”
28   2
         Collectively, Does 1–4 are referred to herein as “Plaintiffs.”

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     JOINT STIPULATION AND [PROPOSED] ORDER REGARDING CONSOLIDATION AND SCHEDULING
                 Case 4:22-cv-07074-JST Document 42 Filed 12/20/22 Page 3 of 5




 1          WHEREAS, in light of a prior extension, Defendants’ response to the Complaint in the

 2   Doe 3 Action is currently due January 4, 2023;

 3          WHEREAS, the parties have conferred and agreed to a further extension of the deadline

 4   for Defendants to move or otherwise respond to the Complaint as well as Plaintiffs’ response and

 5   Defendants’ replies to any such motion;

 6          WHEREAS, an extension of the deadline to respond to the Complaint will not alter the

 7   date of any event or deadline already fixed by Court order; and

 8          WHEREAS, Defendants do not waive, and expressly reserve, all available defenses.

 9   NOW THEREFORE, the parties, through their undersigned counsel, hereby stipulate and agree

10   that, subject to the approval of the Court:

11          1.      The Doe 1 Action and the Doe 3 Action shall be consolidated for purposes of all

12   discovery and motion practice;

13          2.      The Complaint in the Doe 3 Action shall be deemed the operative Complaint;

14          3.      Defendants’ deadline to respond to the operative Complaint shall be extended to

15   January 26, 2023;

16          4.      Plaintiffs’ oppositions to any motion(s) filed by Defendants in response to the

17   Complaint shall be due on March 9, 2023; and

18          5.      Defendants’ replies to any such motions shall be due on April 6, 2023.

19   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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21    Dated: December 20, 2022
                                                      Honorable Jon S. Tigar
22                                                    United States Judge
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     JOINT STIPULATION AND [PROPOSED] ORDER REGARDING CONSOLIDATION AND SCHEDULING
             Case 4:22-cv-07074-JST Document 42 Filed 12/20/22 Page 4 of 5




 1   Dated: December 15, 2022             By:          /s/ Joseph R. Saveri
                                                        Joseph R. Saveri
 2

 3
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 4
                                          Steven N. Williams (State Bar No. 175489)
 5                                        Cadio Zirpoli (State Bar No. 179108)
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                                          Counsel for Plaintiffs and the Proposed Class
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     JOINT STIPULATION AND [PROPOSED] ORDER REGARDING CONSOLIDATION AND SCHEDULING
             Case 4:22-cv-07074-JST Document 42 Filed 12/20/22 Page 5 of 5




     Dated: December 15, 2022
 1                                        By:         /s/ Annette L. Hurst
                                                       Annette L. Hurst
 2

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 8                                        Counsel for GitHub, Inc. and Microsoft Corporation
 9

10   Dated: December 15, 2022
                                          By:         /s/ Joseph C. Gratz
11                                                     Joseph C. Gratz

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17                                        Counsel for OpenAI, Inc.; OpenAI, L.P.; OpenAI GP,
                                          L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI
18                                        Startup Fund I, L.P.; and OpenAI Startup Fund
                                          Management, LLC
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     JOINT STIPULATION AND [PROPOSED] ORDER REGARDING CONSOLIDATION AND SCHEDULING
